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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:15CR3114
      vs.
                                                                 ORDER
ALEXANDER CASTELLANO-BENITEZ,
                    Defendants.


      Defendant has moved to continue the pretrial motion deadline, (filing no. 33),
because the defendant and defense counsel need additional time to fully review the
discovery received before deciding if pretrial motions should be filed. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (filing no. 33), is granted.

      2)     As to both defendants, pretrial motions and briefs shall be filed on or
             before December 11, 2015.

      3)     Trial of this case remains scheduled to commence on December 21, 2015.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendant in a speedy trial, and as to both
             defendants, the additional time arising as a result of the granting of the
             motion, the time between today’s date and December 11, 2015, shall be
             deemed excludable time in any computation of time under the requirements
             of the Speedy Trial Act, because despite counsel’s due diligence, additional
             time is needed to adequately prepare this case for trial and failing to grant
             additional time might result in a miscarriage of justice. 18 U.S.C. §
             3161(h)(7)(A) & (B).

      November 10, 2015.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
